           Case 4:21-cv-05060-RMP                   ECF No. 25        filed 06/24/22       PageID.1530 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                           FILED IN THE
                                                                                                            U.S. DISTRICT COURT
                                                                  for the_                            EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                         KENNETH H.,
                                                                                                       Jun 24, 2022
                                                                                                              SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:21-CV-5060-RMP
                                                                     )
       COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 18, is DENIED.
’
              Defendant’s Motion for Summary Judgment, ECF No. 22, is GRANTED.
              Judgment is entered in favor of the Defendant.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                         ROSANNA MALOUF PETERSON                             on a motion for
      summary judgment.


Date: 6/24/2022                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                            Courtney Piazza
